                 UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                     Case No. 1:15-cv-00109-MR
                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly
                            )
situated,                   )
                            )
              Plaintiff,    )                      JOINT STATUS UPDATE
  v.                        )
                            )
AETNA INC., AETNA LIFE      )
INSURANCE COMPANY, and      )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )

      Pursuant to the Court’s March 19, 2024 text-only order, Plaintiff Sandra

Peters (“Plaintiff”) and Defendants Aetna Inc., Aetna Life Insurance Company, and

OptumHealth Care Solutions (collectively “Defendants”) jointly provide the Court

with the following statement of the issues to be addressed at the upcoming April 30,

2024 status conference, as well as the points of agreement and disagreement between

the parties.

      Since their March 14, 2024 status update, the parties’ settlement efforts have

intensified. Specifically, (i) Plaintiff has made a settlement demand, (ii) Aetna has

countered Plaintiff’s demand, and (iii) the parties have met, telephonically and by

videoconference, on multiple occasions, about how they might structure a resolution.

If the parties have reached an agreement in principle or are on the precipice of




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reaching an agreement in principle before the April 30 status conference, the parties

will advise the Court.

      Absent a settlement agreement in principle on or before April 30, the parties

will be prepared to address the following issues:

      Plaintiff’s List Of Issues To Be Addressed At Status Conference:

      (1) Supplementation of class information. The supplemental production of

         information, including Optum’s supplemental data, to identify all class

         members who should receive notice for the entire class period. If the

         parties are unable to agree on the scope and nature of such supplemental

         production, Plaintiff requests that the Court order briefing on a motion to

         compel production of updated class information.

      (2) Class notice. After receiving the necessary data and information, class

         notice must be finalized and sent before the litigation can continue. Dkt.

         272. Plaintiff proposes to file a final class notice for the Court’s

         consideration within fourteen (14) days of receipt of the information

         necessary to identify all class members who should receive notice.

      (3) Post-notice trial calendaring. Plaintiff’s position is that after class notice is

         completed, this case, which has been pending since 2015, should proceed

         to trial. At the status conference, Plaintiff will be prepared to address what

         a trial in this ERISA case should look like and requests that the Court set


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   dates for pretrial submissions and trial. Plaintiff intends to propose that this

   ERISA bench trial be conducted on the written record pursuant to Federal

   Rule of Civil Procedure 52. See e.g., Pinario v. Prudential Ins. Co. of Am.,

   2009 WL 10705395, at *3 (E.D.N.C. July 23, 2009) (conducting an ERISA

   trial on the written record under Rule 52 through the plaintiff’s Rule 52

   motion for judgment).

(4) Plaintiff strenuously disagrees with Defendants’ characterization that she

   has created any “obstacle to meaningful conversation about what the case

   should look like going forward.” During the parties’ recent meet-and-

   confer, Plaintiff advised Defendants of her understanding that, for this

   filing, the Court requested a concise list of issues to be discussed at the

   upcoming status conference, rather than setting out arguments that the

   parties have already briefed, most recently in Dkt Nos. 288, 290, and 292.

   Accordingly, Plaintiff does not respond here to Defendants’ substantive

   legal arguments.

      Plaintiff opposes another round of summary judgment briefing based

   on Rose v. PSA Airlines, Inc., 80 F.4th 488 (4th Cir. 2023), for the reasons

   stated in Dkt. No. 290. Plaintiff also opposes another round of summary

   judgment briefing on all the other issues raised by Defendants below.

   Defendants have already raised those issues to this Court and/or the Fourth


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          Circuit, and would have full opportunity to address them again in trial

          briefing.

             Plaintiff agrees with the Court that issuance of notice to the classes

          should occur next. Plaintiff will be prepared to address all these issues at

          the status conference.

      Defendants’ List Of Issues To Be Addressed At Status Conference:

      (1) Dispositive Motions

      Defendants request the opportunity to file renewed dispositive motions on the

remaining claims. Because the Court previously denied class certification before

addressing summary judgment only as to Peters’s claims, Defendants are entitled to

seek summary judgment on all remaining claims because neither the Court nor the

Fourth Circuit has decided whether the classes (as opposed to Peters alone) have

sufficient evidence to withstand summary judgment on each claim. See Thomas v.

FTS USA, LLC, 193 F. Supp. 3d 623, 626 (E.D. Va. 2016) (noting the Court’s prior

grant of leave for Defendants’ filing of a second motion for summary judgment post-

certification); Lossia v. Flagstar Bancorp., Inc., No. 15-12540, 2016 WL 4169145,

at *1 (E.D. Mich. Aug. 5, 2016) (“[O]ne Rule 56 motion in connection with

plaintiffs’ individual claims and one additional motion in the event that class

certification is granted, promotes the underlying goals of efficiency and economical

use of judicial resources underlying class action litigation.”).


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      In any event, Defendants would focus their summary judgment motions on

arguments that neither this Court nor the Fourth Circuit has previously passed on.

That includes, but is not limited to, arguments on the following unresolved issues:

   • Whether members of either the Member Claim Class or Plan Claim Class can

      trace any claimed monetary remedy to specific funds in Defendants’

      possession as required under Rose v. PSA Airlines, Inc., 80 F.4th 488 (4th Cir.

      2023), cert denied, No. 23-734, 2024 U.S. LEXIS 1730 (U.S. Apr. 15, 2024);

   • Whether members of the Member Claim Class have sufficient evidence to

      create genuine disputes of material fact on their (ambiguous) claims for

      “declaratory and non-prospective injunctive relief”;

   • Whether the payments in question are plan assets under ERISA

      § 406(a)(1)(D);

   • Whether Optum’s fees constituted reasonable compensation for access to its

      network of providers;

   • Whether Peters can establish that either Defendant made any profit sufficient

      to support an award of equitable monetary relief under ERISA and how any

      alleged profit should be calculated;

   • How any alleged profit earned could be unjust under the circumstances; and

   • Whether Optum can face any liability vis-a-vis the Plan Claim Class given

      that it served no fiduciary function for the challenged conduct.

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      In addition, in the course of the parties’ discussions regarding settlement and

class notice, an issue has arisen regarding the proper time period covered by the two

classes and appropriate for class notice. Aetna updated its Plan Administration

Information disclosures, template Master Services Agreement and template

Summary Plan Description between 2015 and 2018 to provide that Aetna may

contract with vendors who are responsible for contracting with healthcare providers

and that the rate Aetna pays to the vendors and charged to the plans includes an

administrative fee for any delegated services by the vendor. Aetna revised its Plan

Administration Information disclosures to self-funded plans beginning in plan year

2015. Aetna similarly revised its template Master Services Agreement and template

Summary Plan Description for the 2018 plan year. Based on those materials,

Defendants submit that the class periods should end on December 31, 2014, for the

Plan Class and on December 31, 2017, for the Member Class.

      Peters continues to resist summary judgment briefing on those undecided

issues by asserting that the issues—and particularly the tracing issue—are governed

by “the law of the case.” That argument is frivolous and unfortunately has proven

an obstacle to meaningful conversation about what the case should look like going

forward. Contrary to Peters’s assertions, and as Defendants have previously

explained (Dkt. 292), the issue of tracing remains unresolved because neither this

Court in its previous summary judgment order (Dkt. 242) nor the Fourth Circuit in


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Peters addressed the tracing question. Indeed, the Fourth Circuit never mentioned

the words “trace” or “tracing” or even the tracing doctrine in general, and this Court

did not address Defendants’ arguments on the issue. There is no “law of the case”

on the tracing question here because no court has considered it in this case. See

Seatrain Shipbuilding Corp. v. Shell Oil Co., 444 U.S. 572, 597 (1980) (“This issue

was not addressed by the Court of Appeals and is open for its consideration on

remand.”); Salazar v. Buono, 559 U.S. 700, 729 (2010) (Scalia, J., concurring) (law-

of-the-case doctrine “comes into play only if an issue we are asked to resolve has

already been decided in the same litigation”); Smith v. Bounds, 813 F.2d 1299, 1306

(4th Cir. 1987) (“The law of the case doctrine does not govern issues which the

appellate court did not address.”). Peters’s argument to the contrary is meritless and

a tell that she knows that Defendants’ arguments will spell the end of the litigation.

      Even if this Court or the Peters court had addressed the tracing question,

Peters’s own cited case makes clear that the law-of-the-case doctrine does not apply

when “controlling authority has since made a contrary decision of law applicable to

the issue.” TFWS, Inc. v. Franchot, 572 F.3d 186, 191 (4th Cir. 2009); see also

United States v. Moreland, 568 F. Supp. 2d 674, 685 (S.D. W. Va. Apr. 3, 2008)

(deviating from mandate when there was a “dramatic change in controlling legal

authority”). The Fourth Circuit in Rose disavowed its earlier reasoning and decision

in Peters and made clear that, among other things, a plaintiff seeking monetary relief


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under ERISA § 502(a)(3) must—as Defendants have consistently argued1—satisfy

the tracing requirements for equitable relief. See 80 F.4th at 504; Dkt. 288. As

Defendants have already previewed (see Dkts. 288, 292)—and as they would argue

more fulsomely on summary judgment—Rose is dispositive of what remains of

Peters’s claims. Just yesterday, the Supreme Court denied the Rose plaintiff’s

petition for a writ of certiorari, cementing the Fourth Circuit’s decision as the law in

the Circuit.

      Defendants stand ready to move for summary judgment on these and other

unresolved arguments and request that the Court set the following briefing schedule

for summary judgment even as the parties discuss how to proceed on class notice:

      June 30: Deadline for summary judgment motions.

      July 31: Deadline for responses to summary judgment motions.

      August 21: Deadline for replies supporting summary judgment motions.

      At the status conference, Defendants also will be ready to discuss how the

remaining legal and factual issues bear on notice to the class.




                               Respectfully submitted,

Dated: April 16, 2024
1
 See Dkt. 172 at 34–35; Dkt. 190 at 23; Dkt. 207 at 17–22; Dkt. 259 at 16–18; Dkt.
267 at 1–4; Dkt. 275 at 9–12.

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                                OptumHealth Care Solutions, Inc.




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                         CERTIFICATE OF SERVICE

      I certify that on April 16, 2024, I filed and served a copy of the Joint Status

Report using the CM/ECF system, which will give notice to counsel of record.



s/ David M. Wilkerson




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